Case 18-60054-pmb        Doc 21     Filed 09/20/18 Entered 09/20/18 10:36:49            Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:

   DANA MICHELLE VALORIE CALHOUN
                                                  :      CHAPTER 13
                                                  :
                                                  :
                                                  :
                   Debtors.                       :      CASE NO.: 18-60054-PMB

                 CERTIFICATE OF MANNER OF SERVICE PURSUANT TO
                             BANKRUPTCY RULE 7004

            This is to certify that I have this day served a copy of the Initial Chapter 13 Plan
   filed in the above styled case on June 15, 2018 (Doc. No. 2) by depositing same in the
   United States mail with the adequate postage affixed thereto to insure delivery addressed
   as follows:
   Prestige Financial Services
   351 W Opportunity Way
   Draper, UT 84020


   C T Corporation System (Registered Agent for Prestige Financial Services)
   289 S Culver St
   Lawrenceville, GA 30046



   DATED: September 20, 2018
   _____/s_____________
   Howard P. Slomka
   Georgia Bar #652875
   Attorney for the Debtor
   Slipakoff & Slomka, PC
   2859 Paces Ferry Rd, SE Suite 1700
   Atlanta, GA 30339
